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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:
MONYETTA JACKSON                              )               CASE NO. 19-66610-WLH
                                              )               CHAPTER 7
                        Debtor.               )


                                  CERTIFICATE OF SERVICE

I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this date, I

served a copy of the foregoing Motion to Vacate Dismissal and Reopen Case by first class

U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated on the

attached Exhibit “1”.

       Dated this 17th day of September, 2020


                                                      /s/ S. Gregory Hays
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060
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                                      EXHIBIT “1”


Monyetta Jackson
1606 Van Epps Street, S.E.
Atlanta, GA 30316

Office of the U. S. Trustee
Room 362
75 Spring Street, SW
Atlanta, GA 30303

E. L. Clark
3300 Northeast Expressway
Building 3, Suite A
Atlanta, GA 30341
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                          UNITED STATES BANKRUPTCY COURT
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IN RE:
MONYETTA JACKSON                              )             CASE NO. 19-66610-WLH
                                              )             CHAPTER 7
                        Debtor.               )


                  MOTION TO VACATE DISMISSAL AND REOPEN CASE


       COMES NOW, S. Gregory Hays, Chapter 7 Trustee, and files this motion to Vacate the
Order Dismissing Ch. 7 Case entered on July 24, 2020, to reopen the case and shows the Court
the following:
                                                  1.
       Debtor commenced this case under Chapter 7 on October 17, 2019 and the trustee was
appointed.
                                                  2.
       Debtor’s initial 11 U. S. C. § 341(a) meeting of creditors was scheduled for November
19, 2019. The following sequence of events then occurred:
             •   The Section 341(a) meeting was re-set to December 17, 2019, due to debtor’s
                 failure to appear at the initial meeting;
             •   On December 4, 2019, an Order dismissing the case was entered due to debtor’s
                 failure to pay the filing fee;
             •   The debtor filed a motion seeking reinstatement of the case and on January 24,
                 2020, an Order was entered granting the motion to vacate and the case was
                 reopened;
             •   On February 6, 2020, the U. S. Trustee scheduled the next Section 341(a) meeting
                 for March 17, 2020;
             •   On March 15, 2020, General Order No. 31-2020 was entered requiring the case to
                 be reset as telephonic;
             •   On May 6, 2020, the U. S. Trustee’s office was notified that the case was
                 overlooked when setting the telephonic date and time and a new Section 341(a)
                 meeting date was requested in order for a notice to be served;
             •   Notice of the new meeting date of June 22, 2020 was served ;
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          •   The debtor attended the telephonic meeting on June 22, 2020 and only answered a
              few questions before hanging up the phone. The meeting was continued to July
              23, 2020, for production of additional documents including proof of
              identification, social security number, and a copy of Debtor’s most recently filed
              tax return;
          •   The debtor failed to attend the July 23, 2020 continued meeting and the tax return
              has not been produced;
          •   While the trustee believes there is sufficient evidence to request this case be
              dismissed, the Report of Debtor’s Failure to Appear filed on July 23, 2020 (Dkt.
              #33), was not the appropriate document to file and the trustee withdrew his
              request to dismiss on July 27, 2020.

       WHEREFORE, the Trustee prays that the Court grant his motion to vacate the Order
Dismissing Ch. 7 Case dated July 24, 2020, and reopen the case.
       Respectfully submitted this 17th day of September, 2020.


                                                   /s/ S. Gregory Hays
                                                   S. Gregory Hays
                                                   Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060
